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                               UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                  CASE NO: 17-24203-CIV-DPG

 MARIA LARIN,

               Plaintiff,

 vs.

 LOVING HEART HOME HEALTH CARE,
 INC., JOAQUIN MARQUEZ, individually,
 and SONIA MARQUEZ, individually,

             Defendants.
 ____________________________________/

               DEFENDANTS’ NOTICE OF DISCOVERY HEARING BEFORE
                       MAGISTRATE JUDGE OTAZO-REYES

        Defendants Loving Heart Home Health Care, Inc., Joaquin Marquez, and Sonia Marquez,

 hereby file this Notice of Discovery Hearing to occur before the Honorable Magistrate Judge Otazo-

 Reyes. The hearing will occur at the following date, time, and address:

               Date:          June 22, 2018

               Time:          9:30 a.m.

               Location:      C. Clyde Atkins U.S. Courthouse
                              301 North Miami Ave., 10th Floor
                              Miami, FL 33128




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                                                 ITEMS AT ISSUE

 The following discovery items will be addressed with the Court:

          1. Plaintiff’s Motion To Take In Excess Of Number of Allowed Depositions And
             Defendants’ Request For Protective Order From Duplicative Discovery.

          Plaintiff has exceeded the number of depositions allowed under the Rules (Fed. R. Civ. P.

 30(a)(2)(A)). There is no good cause for additional depositions, especially when considering the

 needs of the case and the parties’ resources. Plaintiff’s disproportionate discovery requests extend

 to written discovery. In this straightforward matter, Plaintiff has issued six (6) separate requests for

 production of documents (for a total of 157 document requests) and three separate interrogatories.

 In certain instances, Plaintiff has made the same document request several times (and as many as

 five (5) times).1 Defendants request a protective order from having to respond to duplicative

 requests where the end result of those requests is merely to multiply attorneys’ fees.

          2. Plaintiff’s Responses and Objections to Defendants’ Second Request for Production
             of Documents.

          On May 4, 2018, Defendants served their Second Request for Production of Documents.

 The request seeks deposit slips, deposited checks, deposit receipts, and documents showing payor

 information for a specific list of deposits reflected in Plaintiff’s bank records. The parties conferred

 and Plaintiff consented to the issuance of third party subpoenas to the banks holding the accounts.

 Defendants requested that Plaintiff also obtain responsive documents herself or clarify what steps, if

 any, Plaintiff had taken to do so. Defendants’ requests have gone ignored.




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   See (i) Defendants’ Responses to Plaintiff’s First Request for Production (RFP No. 6); (ii) Defendants’ Amended
 Responses to Plaintiff’s First Request for Production (RFP No. 6); (iii) Defendants’ Responses to Plaintiff’s Request for
 Production Dated 3/2/18 (RFP No. 1); and (iv) Plaintiff’s Request for Production Dated 5/16/18 (RFP Nos. 1, 8); See
 (i) Defendants’ Responses to Plaintiff’s Request for Production Dated 3/20/18 (RFP No. 9); and (ii) Defendants’
 Responses to Plaintiff’s Request for Production Dated 5/16/18 (RFP Nos. 3, 10); See (i) Defendants’ Responses to
 Plaintiff’s Request for Production Dated 3/20/18 (RFP No. 9); and (ii) Defendants’ Responses to Plaintiff’s Request for
 Production Dated 5/16/18 (RFP Nos. 5, 6, 11, 12).


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          3. Plaintiff’s Text Messages

          Defendants requested Plaintiff’s text messages regarding this lawsuit. Plaintiff initially

 responded that she would make certain text messages available for inspection.             Defendants

 requested copies of the messages, to which Plaintiff responded “they are available for inspection on

 an agreed to date and time” and “we are unable to make the text messages available by any other

 means.” On May 26, 2018, however, Plaintiff stated that “we installed an application on Plaintiff’s

 phone which backs up all the text messages and transfers them to email format” and that “Plaintiff

 does not have text messages in her possession, custody, and control.” Plaintiff then produced four

 (4) screenshots (none were of text messages).        Defendants have made several requests for

 information about the backup in hopes of assessing the scope of backup and/or recovering the text

 messages that Plaintiff represented that she had. Those requests have all gone ignored.

                                 CERTIFICATE OF CONFERRAL

          In accordance with the Discovery Procedures for Magistrate Judge Alicia M. Otazo-Reyes

 (DE 22), Defendants hereby certify that they have conferred with Plaintiff concerning the issues set

 forth in the Notice above. The parties were unable to resolve the issues to be addressed by the

 Court.




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                                               Respectfully submitted,

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                                   CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that a true and correct copy of the foregoing was served via E-mail

 upon the individuals on the service list below, this 20th day of June, 2018.


                                               By: /s/ Bayardo E. Aleman
                                                      Bayardo E. Aleman

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